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                     IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

    TALIA N. HARRISON,                    :
                                          :
              Plaintiff,                  :     Civil Action No.: 4:21-cv-00607-
                                          :     ALM
       vs.                                :
                                          :
    TYLER TECHNOLOGIES, INC.,             :
                                          :
              Defendant.                                                           :
                                          :

                                       ORDER

          The parties having jointly moved to extend the time to file their Joint

    Motion for Settlement Approval (Dkt. #39), and upon consideration of the same

    and for good cause shown, the motion is GRANTED.

          It is therefore ORDERED that the time in which the parties may file their
.
    Joint Motion for Settlement Approval is extended through and including

    February 27, 2023.

          IT IS SO ORDERED.
          SIGNED this 28th day of February, 2023.




                                    ___________________________________
                                    AMOS L. MAZZANT
                                    UNITED STATES DISTRICT JUDGE
